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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


    In re:                                               Chapter 11

    The Hertz Corporation, et al.,                       Case No. 20-11218 (MFW)

                                                         (Jointly Administered)
                  Debtors. 1
                                                         Related Docket No. 683



                                  NOTICE OF WITHDRAWAL OF MOTION

             PLEASE TAKE NOTICE that Fenton Texas LLC (successor in trust to Hardeman Family Joint

Venture, Ltd.) hereby withdraws its Motion for Allowance and Payment of Post-Petition Lease

Obligations [Docket No. 683] filed on July 8, 2020.

Dated: July 16, 2020                                    CHIPMAN BROWN CICERO & COLE, LLP


                                                          /s/ William E. Chipman, Jr.
                                                        William E. Chipman, Jr. (No. 3818)
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                                                        Counsel for Fenton Texas LLC (successor in interest to
                                                        Hardeman Family Joint Venture, Ltd.)




1
      The last four digits of The Hertz Corporation’s tax identification number are 8568. The location of the debtors’ service
      address is 8501 Williams Road, Estero, FL 33928. Due to the large number of debtors in these chapter 11 cases, for
      which joint administration for procedural purposes has been requested, a complete list of the debtors and the last four
      digits of their federal tax identification numbers is not provided herein. A complete list of such information may be
      obtained      on     the    website      of   the   Debtors’      proposed    claims    and     noticing    agent     at
      https://restructuring.primeclerk.com/hertz.
